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 1   ZBS Law, LLP
     Erin M. McCartney, Esq. #308803
 2   30 Corporate Park, Suite 450
 3   Irvine, CA 92606
     Phone:        (714) 848-7920
 4   Facsimile:    (714) 908-7807
     Email:        bankruptcy@zbslaw.com
 5
     Attorney(s) for Secured Creditor, West Coast Servicing, Inc.
 6

 7
                                UNITED STATES BANKRUPTCY COURT
 8
                                 CENTRAL DISTRICT OF CALIFORNIA
 9
                                           LOS ANGELES DIVISION
10
                                                            Case No.: 2:21-bk-14596-NB
11    In re:
                                                            Chapter: 13
12    Jonathan L Jones,

13                                                          OPPOSITION TO DEBTOR’S MOTION
                            Debtor.                         IN INDIVIDUAL CASE FOR ORDER
14                                                          IMPOSING A STAY OR CONTINUING
                                                            THE AUTOMATIC STAY AS THE
15                                                          COURT DEEMS APPROPRIATE

16                                                          Hearing:
                                                            Date: June 29, 2021
17                                                          Time: 10:00 a.m.
                                                            Courtroom: 1545
18                                                          Location: United Stated Bankruptcy Court
                                                                        255 E. Temple St.,
19                                                                      Los Angeles, CA 90012

20             West Coast Servicing, Inc. (“Secured Creditor”) hereby submits the following Opposition
21
     to Debtor’s Motion in Individual Case for Order Imposing a Stay or Continuing the Automatic
22
     Stay as the Court Deems Appropriate (hereinafter “Motion”).
23
                                      I.     STATEMENT OF FACTS
24

25             1.     Debtor filed the instant bankruptcy action as a Chapter 13 on June 2, 2021.

26             2.     Secured Creditor, West Coast Servicing, Inc. is the beneficiary under a Deed of

27   Trust which secures a Promissory Note (“Note”) in the initial amount of $147,250.00 with Note all
28
                                                        1
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 1   due and payable pre-petition on October 1, 2020. The Note is secured on the Debtor’s personal
 2   residence located at 3701 Cherrywood Ave., Los Angeles, CA 90018-4010.
 3
            3.       According to the Secured Creditor’s records, the Debtor has not made a payment on
 4
     the loan. The loan matured on October 1, 2020, and the total amount due and payable is 397,608.17.
 5
            4.       Debtor attempted to propose a prior Chapter 13 plan but failed due failure to cure
 6

 7   the Trustee and West Coast Servicing, Inc.’s objections prior to confirmation. The Debtor’s prior

 8   plan provided for sale of the subject property with vague terms. The same provision is included in

 9   the pending Motion to Extend the Stay to justify imposing the stay past 30 days. However, this
10
     appears to be a delay tactic. The Debtor has failed to file schedules or a Chapter 13 plan in the
11
     instant case.
12
            5.       The first case was filed on November 16, 2020, under case number 2:20-bk-20249-
13
     NB. The case was dismissed on May 26, 2021 after the Debtor was unable to satisfy the pending
14

15   objections to the plan.

16          6.       Secured Creditor has attempted to complete an interior inspection of the property in
17   the past which has been refused by the Debtor. Secured Creditor now believes the Debtor may
18
     have an illegal grow farm inside.
19
                                            II.    ARGUMENT
20
            To extend the automatic stay, the Debtor must demonstrate that the present case was filed
21

22   in good faith as to Secured Creditor. 11 USC § 362(c)(3)(B). A presumption exists that the current

23   case was not filed in good faith if any of the conditions set forth in Section 362(c)(3)(C) are

24   triggered. To rebut the presumption, the Debtor must put forth “clear and convincing” evidence.
25   Section 362(c)(3)(C).
26
            This case was “presumptively filed not in good faith” because Section 362(c)(3)(C)(i)(I),
27
     362(c)(3)(C)(i)(II) and Section 362(c)(3)(C)(i)(III) are present. As to Section 362(c)(3)(C)(i)(I),
28
                                                       2
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 1   Debtor filed a previous case under Chapter 13 that was dismissed within a 1-year period of filing
 2   of the instant bankruptcy case. As to Section 362(c)(3)(C)(i)(II), the previous case was dismissed
 3
     due to Debtor’s failure to cure the Trustee and West Coast Servicing, Inc.’s objections prior to
 4
     confirmation. As to Section 362(c)(3)(C)(i)(III) there has (1) not been a substantial change in the
 5
     financial affairs of the Debtor since the previous case was dismissed, and (2) there is good reason
 6

 7   to conclude that the current case will not result with a confirmed plan that will be fully performed.

 8          With regards to Section 362(c)(3)(C)(i)(I), Debtor filed a bankruptcy petition under Chapter

 9   13 on November 16, 2020, identified in this court as Case No. 2:20-bk-20249-NB. A printout of
10
     the Docket Sheet for Case No. 2:20-bk-20249-NB is attached hereto as Exhibit “1”.
11
            With regards to Section 362(c)(3)(C)(i)(II), the court issued an Order dismissing Case No.
12
     2:20-bk-20249-NB on May 26, 2021 due to Debtor’s failure to cure or address the pending
13
     objections to plan confirmation.
14

15          As to 362(c)(3)(C)(i)(III), Debtor has failed to adequately demonstrate that his financial

16   circumstances have substantially improved between filing the previous bankruptcy case and filing
17   Debtor’s current case. Debtor previously claimed his monthly income was $8,349.35 with a net
18
     income of $4,907.33. Debtor has not yet filed his schedules or chapter 13 plan in the instant case.
19
     Thus, Debtor has failed to meet the burden of proof to demonstrate a substantial change in their
20
     financial circumstances. True and correct copies of Schedules “I” and “J” filed in the previous case
21

22   are attached hereto as Exhibit “2”. Debtor also states in the motion that he intends to file a Motion

23   for Authority to Sell the Real Property and use the process of payoff his bankruptcy plan. This

24   same proposal was raised in the first bankruptcy; however, the property has not been listed and the
25   instant motion provides little information regarding the time frame to sell the property and what
26
     will happen in the event the Debtor fails to sell the property in the required amount of time. These
27
     objections were raised in the prior case and the Debtor failed to address the matter at three (3)
28
                                                       3
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 1   scheduled confirmation hearings. The Debtor has failed to present any evidence to support his
 2   assertion that a sale of the property is imminent or reasonable at this time.
 3
                                           III.    CONCLUSION
 4
            The Motion to Extend the Automatic Stay filed by Debtor should be denied. The Motion
 5
     fails to offer adequate evidence upon which this Court could determine that a clear and convincing
 6

 7   showing has been made to rebut the presumption that the case was not filed in good faith. Debtor’s

 8   prior case was dismissed within the past one (1) year Debtor’s failure to cure the objection to plan

 9   confirmation. Furthermore, there is insufficient evidence to demonstrate a substantial change in
10
     Debtor’s financial circumstances, and there is good reason to believe that the current case will not
11
     result in a confirmed plan that will be fully performed. The Secured Creditor has continued to
12
     suffer and incur costs due to the Debtor’s repeated bankruptcy filings.
13
            WHEREFORE, Secured Creditor respectfully requests that:
14

15          1. The Motion be denied;

16          2. That the Court issue an Order stating that the Automatic Stay shall terminate with
17              respect to the Debtor and the property of the estate on the 30th day after the filing of the
18
                instant bankruptcy case pursuant to 11 U.S. Code § 362(c)(3)(A);
19
            3. The Court order that the Debtor allow Secured Creditor access to the property to
20
                complete an interior inspection.
21

22          4. For other such relief as this Court deems just and proper.

23

24    Dated: June 11, 2021                         ZBS Law, LLP

25                                                 /s/ Erin M. McCartney
                                                   Erin M. McCartney, Esq.
26                                                 Attorney(s) for Secured Creditor

27

28
                                                        4
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
30 Corporate Park, Suite 450
Irvine, CA 92606

A true and correct copy of the foregoing document entitled (specify): OPPOSITION TO MOTION TO EXTEND THE
AUTOMATIC STAY will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 14, 2021, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                           Stephen S Smyth, Attorney                                 stephen@smythlo.com
                           Kathy A Dockery (TR), Trustee                             EFiling@LATrustee.com
                           United States Trustee (LA)                                ustpregion16.la.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) June 14, 2021, I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

DEBTOR                                                PRESIDING JUDGE:
Jonathan L Jones                                      Honorable Neil W. Bason
3701 Cherrywood Ave                                   Edward R. Roybal Federal Building and
Los Angeles, CA 90018                                 Courthouse
                                                      255 E. Temple Street, Suite 1552
                                                      Los Angeles, CA 90012

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 14, 2021                Katherine Kellams                                                 /s/ Katherine Kellams
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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                                                   Docket Header Last Updated: 06/08/2021 09:11 am
                                                          Repeat-cacb, RepeatPACER, AmdPln13F, DISMISSED
                                          U.S. Bankruptcy Court
                               Central District of California (Los Angeles)
                               Bankruptcy Petition #: 2:20-bk-20249-NB

                                                                          Date filed:    11/16/2020
  Assigned to: Neil W. Bason
  Chapter 13                                                      Debtor dismissed:      05/26/2021

  Voluntary
                                                                      341 meeting:       12/23/2020
  Asset


  Debtor disposition: Dismissed for Other Reason



  Debtor                                                 represented by   Stephen L Burton
  Jonathan Jones                                                          Stephen L. Burton, Attorney at Law
  3701 Cherrywood Ave                                                     16133 Ventura Blvd 7th Fl
  Los Angeles, CA 90018                                                   7th Floor
  LOS ANGELES-CA                                                          Encino, CA 91436
  SSN / ITIN: xxx-xx-5853                                                 818-501-5055
                                                                          Fax : 818-501-5849
                                                                          Email: steveburtonlaw@aol.com



  Trustee
  Kathy A Dockery (TR)
  801 Figueroa Street, Suite 1850
  Los Angeles, CA 90017
  (213) 996-4400



  U.S. Trustee
  United States Trustee (LA)
  915 Wilshire Blvd, Suite 1850
  Los Angeles, CA 90017
  (213) 894-6811




 Date Filed        #        Docket Text

 05/28/2021        46




                                               EXHIBIT 1
https://app.courtdrive.com/filings/cacbke_1913407-2-20-bk-20249-jonathan-jones                        6/11/2021
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                       BNC Certificate of Notice (RE: related document(s) 45 ORDER and Notice of Dismissal
                       arising from Ch 13 Conf. Hrg. (BNC)) No. of Notices: 17. Notice Date 05/28/2021.
                       (Admin.) (Entered: 05/28/2021)


 05/26/2021     45     ORDER and Notice of dismissal arising from chapter 13 confirmation hearing - Debtor
                       Dismissed. (BNC) (RE: related document(s) 8 Meeting (AutoAssign Chapter 13)) (Sumlin,
                       Sharon E.) (Entered: 05/26/2021)


 03/23/2021     44     Proof of service Filed by (RE: related document(s) 43 Notice of Hearing). (Dockery (TR),
                       Kathy) (Entered: 03/23/2021)


 03/18/2021     43     Notice of Hearing Filed by. (Dockery (TR), Kathy) (Entered: 03/18/2021)


 02/11/2021     42     BNC Certificate of Notice (RE: related document(s) 41 Notice of Requirement to Complete
                       Course in Financial Management (Auto VAN-105) (BNC)) No. of Notices: 1. Notice Date
                       02/11/2021. (Admin.) (Entered: 02/11/2021)


 02/08/2021     41     Notice of Requirement to Complete Course in Financial Management (Auto VAN-105)
                       (BNC). (AutoDocket, User) (Entered: 02/08/2021)


 01/27/2021     40     Proof of service Filed by (RE: related document(s) 39 Notice of Hearing). (Dockery (TR),
                       Kathy) (Entered: 01/27/2021)


 01/21/2021     39     Notice of Hearing Filed by. (Dockery (TR), Kathy) (Entered: 01/21/2021)


 01/05/2021            ***Statistics Reporting*** Motion for Valuation of Security (CM27). (RE: related
                       document(s) [38]) Amended Chapter 13 Plan (AutoDocket, User)


 01/05/2021     38     Amended Chapter 13 Plan Property value is listed at an amount EQUAL to or GREATER
                       THAN the Secured Amount Claimed: 1 included. Filed by Debtor Jonathan Jones (RE:
                       related document(s) 34 Chapter 13 Plan (LBR F3015-1). Property value is listed at an
                       amount EQUAL to or GREATER THAN the Secured Amount Claimed: 1 included. Filed by
                       Debtor Jonathan Jones.). (Burton, Stephen) (Entered: 01/05/2021)


 01/05/2021     37     Proof of service Filed by (RE: related document(s) 32 Trustee's Objection to Confirmation
                       of Plan (batch)). (Dockery (TR), Kathy) (Entered: 01/05/2021)


 01/04/2021     36     Notice to Filer of Error and/or Deficient Document Incorrect docket event was used to
                       file this document. The correct docket event for this document is "Amended
                       Chapter 13 Plan". THE FILER IS INSTRUCTED TO RE-FILE THE DOCUMENT USING
                       THE CORRECT DOCKET EVENT. (RE: related document(s) 34 Chapter 13 Plan (LBR
                       F3015-1) filed by Debtor Jonathan Jones) (Ghaltchi (Johnson), Dina) (Entered:
                       01/04/2021)


 01/04/2021




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                       ***Statistics Reporting*** Motion for Valuation of Security (CM27). (RE: related
                       document(s) [34]) Chapter 13 Plan (LBR F3015-1) (AutoDocket, User)


 01/04/2021            ***Statistics Reporting*** Motion for Valuation of Security (CM27). (RE: related
                       document(s) 34 ) Chapter 13 Plan (LBR F3015-1) (AutoDocket, User) (Entered:
                       01/04/2021)


 01/03/2021     35     Debtor's notice of section 341(a) meeting and hearing on confirmation of chapter 13
                       plan with copy of chapter 13 plan Filed by Debtor Jonathan Jones. (Burton, Stephen)
                       (Entered: 01/03/2021)


 01/03/2021     34     Chapter 13 Plan (LBR F3015-1). Property value is listed at an amount EQUAL to or
                       GREATER THAN the Secured Amount Claimed: 1 included. Filed by Debtor Jonathan
                       Jones. (Burton, Stephen) (Entered: 01/03/2021)


 12/28/2020     33     Objection to Confirmation of Plan Filed by Creditor West Coast Servicing, Inc. (RE:
                       related document(s) 23 Chapter 13 Plan (LBR F3015-1). Property value is listed at an
                       amount EQUAL to or GREATER THAN the Secured Amount Claimed: 2 included. Filed by
                       Debtor Jonathan Jones (RE: related document(s) 1 Chapter 13 Voluntary Petition
                       Individual . Fee Amount $310 Filed by Jonathan Jones Summary of Assets and
                       Liabilities (Form 106Sum or 206Sum ) due 11/30/2020. Schedule A/B: Property (Form
                       106A/B or 206A/B) due 11/30/2020. Schedule C: The Property You Claim as Exempt
                       (Form 106C) due 11/30/2020. Schedule D: Creditors Who Have Claims Secured by
                       Property (Form 106D or 206D) due 11/30/2020. Schedule E/F: Creditors Who Have
                       Unsecured Claims (Form 106E/F or 206E/F) due 11/30/2020. Schedule G: Executory
                       Contracts and Unexpired Leases (Form 106G or 206G) due 11/30/2020. Schedule H:
                       Your Codebtors (Form 106H or 206H) due 11/30/2020. Schedule I: Your Income (Form
                       106I) due 11/30/2020. Schedule J: Your Expenses (Form 106J) due 11/30/2020.
                       Declaration About an Individual Debtors Schedules (Form 106Dec) due 11/30/2020.
                       Statement of Financial Affairs (Form 107 or 207) due 11/30/2020. Chapter 13 Plan
                       (LBR F3015-1) due by 11/30/2020. Chapter 13 Statement of Your Current Monthly
                       Income and Calculation of Commitment Period (Form 122C-1) Due: 11/30/2020.
                       Chapter 13 Calculation of Your Disposable Income (Form 122C-2) Due: 11/30/2020.
                       Statement of Related Cases (LBR Form F1015-2) due 11/30/2020. Disclosure of
                       Compensation of Attorney for Debtor (Form 2030) due 11/30/2020. Declaration by
                       Debtors as to Whether Income was Received from an Employer within 60-Days of the
                       Petition Date (LBR Form F1002-1) due by 11/30/2020. Incomplete Filings due by
                       11/30/2020.).). (McCartney, Erin) (Entered: 12/28/2020)


 12/23/2020     32     Objection to Confirmation of Chapter 13 Plan . (Dockery (TR), Kathy) (Entered:
                       12/23/2020)
                                                                                                                 
 /   /
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                                             EXHIBIT 1
https://app.courtdrive.com/filings/cacbke_1913407-2-20-bk-20249-jonathan-jones                          6/11/2021
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                       Request for courtesy Notice of Electronic Filing (NEF) Filed by McCartney, Erin.
                       (McCartney, Erin) (Entered: 12/22/2020)


 12/18/2020     30     Declaration RE Filing of Tax Returns and Payment of Domestic Support Obligations
                       (Preconfirmation) Filed by Debtor Jonathan Jones. (Burton, Stephen) (Entered:
                       12/18/2020)


 12/18/2020     29     Declaration Setting Forth Postpetition, Preconfirmation Payments On: 1. Deeds of Trust
                       (or Mortgages), 2. Leases of Personal Property; 3. Purchase Money Security Liens on
                       Personal Property Filed by Debtor Jonathan Jones. (Burton, Stephen) (Entered:
                       12/18/2020)


 12/14/2020     28     Debtor's notice of section 341(a) meeting and hearing on confirmation of chapter 13 plan
                       with copy of chapter 13 plan Filed by Debtor Jonathan Jones. (Burton, Stephen) (Entered:
                       12/14/2020)


 12/08/2020     27     Proof of service Filed by (RE: related document(s) 26 Notice of Hearing). (Dockery (TR),
                       Kathy) (Entered: 12/08/2020)


 12/01/2020     26     Notice of Hearing Filed by. (Dockery (TR), Kathy) (Entered: 12/01/2020)


 11/30/2020     25     Notice to Filer of Error and/or Deficient Document Incorrect PDF was attached to the
                       docket entry. THE FILER IS INSTRUCTED TO RE-FILE THE DOCUMENT WITH THE
                       CORRECT PDF IMMEDIATELY. (RE: related document(s) 18 Disclosure of Compensation
                       of Atty for Debtor (Official Form 2030) filed by Debtor Jonathan Jones) (Ghaltchi
                       (Johnson), Dina) (Entered: 11/30/2020)


 11/30/2020     24     Notice to Filer of Error and/or Deficient Document Document filed without
                       electronic /s/ or holographic signature of Debtor's counsel. THE FILER IS
                       INSTRUCTED TO RE-FILE THE DOCUMENT WITH THE PROPER SIGNATURES. (RE:
                       related document(s) 23 Chapter 13 Plan (LBR F3015-1) filed by Debtor Jonathan Jones)
                       (Ghaltchi (Johnson), Dina) (Entered: 11/30/2020)


 11/30/2020            ***Statistics Reporting*** Motion for Valuation of Security (CM27). (RE: related
                       document(s) 23 ) Chapter 13 Plan (LBR F3015-1) (AutoDocket, User) (Entered:
                       11/30/2020)


 11/30/2020     23     Chapter 13 Plan (LBR F3015-1). Property value is listed at an amount EQUAL to or
                       GREATER THAN the Secured Amount Claimed: 2 included. Filed by Debtor Jonathan Jones
                       (RE: related document(s) 1 Chapter 13 Voluntary Petition Individual . Fee Amount $310
                       Filed by Jonathan Jones Summary of Assets and Liabilities (Form 106Sum or 206Sum )
                       due 11/30/2020. Schedule A/B: Property (Form 106A/B or 206A/B) due 11/30/2020.
                       Schedule C: The Property You Claim as Exempt (Form 106C) due 11/30/2020. Schedule
                       D: Creditors Who Have Claims Secured by Property (Form 106D or 206D) due




                                             EXHIBIT 1
https://app.courtdrive.com/filings/cacbke_1913407-2-20-bk-20249-jonathan-jones                             6/11/2021
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                       11/30/2020. Schedule E/F: Creditors Who Have Unsecured Claims (Form 106E/F or
                       206E/F) due 11/30/2020. Schedule G: Executory Contracts and Unexpired Leases (Form
                       106G or 206G) due 11/30/2020. Schedule H: Your Codebtors (Form 106H or 206H) due
                       11/30/2020. Schedule I: Your Income (Form 106I) due 11/30/2020. Schedule J: Your
                       Expenses (Form 106J) due 11/30/2020. Declaration About an Individual Debtors
                       Schedules (Form 106Dec) due 11/30/2020. Statement of Financial Affairs (Form 107 or
                       207) due 11/30/2020. Chapter 13 Plan (LBR F3015-1) due by 11/30/2020. Chapter 13
                       Statement of Your Current Monthly Income and Calculation of Commitment Period (Form
                       122C-1) Due: 11/30/2020. Chapter 13 Calculation of Your Disposable Income (Form
                       122C-2) Due: 11/30/2020. Statement of Related Cases (LBR Form F1015-2) due
                       11/30/2020. Disclosure of Compensation of Attorney for Debtor (Form 2030) due
                       11/30/2020. Declaration by Debtors as to Whether Income was Received from an
                       Employer within 60-Days of the Petition Date (LBR Form F1002-1) due by 11/30/2020.
                       Incomplete Filings due by 11/30/2020.). (Burton, Stephen) (Entered: 11/30/2020)




 11/30/2020     22     Statement of Related Cases (LBR Form 1015-2.1) Filed by Debtor Jonathan Jones (RE:
                       related document(s) 1 Voluntary Petition (Chapter 13)). (Burton, Stephen) (Entered:
                       11/30/2020)


 11/30/2020     21     Declaration by Debtor as to Whether Debtor(s) Received Income From an Employer Within
                       60 Days of Petition (LBR Form F1002-1) Filed by Debtor Jonathan Jones (RE: related
                       document(s) 1 Voluntary Petition (Chapter 13)). (Burton, Stephen) (Entered: 11/30/2020)




 11/30/2020     20     Declaration Setting Forth Postpetition, Preconfirmation Payments On: 1. Deeds of Trust
                       (or Mortgages), 2. Leases of Personal Property; 3. Purchase Money Security Liens on
                       Personal Property Filed by Debtor Jonathan Jones. (Burton, Stephen) (Entered:
                       11/30/2020)


 11/30/2020     19     Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment
                       Period for 3 Years, Disposable Income Is Determined (Official Form 122C-1) , Chapter 13
                       Calculation of Your Disposable Income (Official Form 122C-2) Filed by Debtor Jonathan
                       Jones (RE: related document(s) 1 Voluntary Petition (Chapter 13)). (Burton, Stephen)
                       (Entered: 11/30/2020)


 11/30/2020     18     Disclosure of Compensation of Attorney for Debtor (Official Form 2030) Filed by Debtor
                       Jonathan Jones (RE: related document(s) 1 Voluntary Petition (Chapter 13)). (Burton,
                       Stephen) (Entered: 11/30/2020)


 11/30/2020     17     Rights and responsibilities agreement between chapter 13 debtors and their attorneys
                       Filed by Debtor Jonathan Jones. (Burton, Stephen) (Entered: 11/30/2020)




                                            EXHIBIT 1
https://app.courtdrive.com/filings/cacbke_1913407-2-20-bk-20249-jonathan-jones                         6/11/2021
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 11/30/2020     16     Statement of Financial Affairs for Individual Filing for Bankruptcy (Official Form 107 or
                       207) Filed by Debtor Jonathan Jones (RE: related document(s) 1 Voluntary Petition
                       (Chapter 13)). (Burton, Stephen) (Entered: 11/30/2020)


 11/30/2020     15     Summary of Assets and Liabilities for Individual (Official Form 106Sum or 206Sum) ,
                       Schedule A/B Individual: Property (Official Form 106A/B or 206A/B) , Schedule C: The
                       Property You Claimed as Exempt (Official Form 106C) , Schedule D Individual:
                       Creditors Who Have Claims Secured by Property (Official Form 106D or 206D) ,
                       Schedule E/F Individual: Creditors Who Have Unsecured Claims (Official Form 106F or
                       206F) , Schedule G Individual: Executory Contracts and Unexpired Leases (Official
                       Form 106G or 206G) , Schedule H Individual: Your Codebtors (Official Form 106H or
                       206H) , Schedule I Individual: Your Income (Official Form 106I) , Schedule J: Your
                       Expenses (Official Form 106J) , Declaration About an Individual Debtor's Schedules
                       (Official Form 106Dec) Filed by Debtor Jonathan Jones (RE: related document(s) 1
                       Voluntary Petition (Chapter 13)). (Burton, Stephen) (Entered: 11/30/2020)




 11/19/2020     14     BNC Certificate of Notice (RE: related document(s) 7 Notice of Dismissal of Case If
                       Required Documents Are Not Filed Within 72 Hours (VAN-197) (BNC)) No. of Notices:
                       2. Notice Date 11/19/2020. (Admin.) (Entered: 11/19/2020)


 11/19/2020     13     BNC Certificate of Notice (RE: related document(s) 1 Voluntary Petition (Chapter 13)
                       filed by Debtor Jonathan Jones) No. of Notices: 1. Notice Date 11/19/2020. (Admin.)
                       (Entered: 11/19/2020)


 11/19/2020     12     BNC Certificate of Notice (RE: related document(s) 1 Voluntary Petition (Chapter 13)
                       filed by Debtor Jonathan Jones) No. of Notices: 1. Notice Date 11/19/2020. (Admin.)
                       (Entered: 11/19/2020)


 11/19/2020     11     BNC Certificate of Notice (RE: related document(s) 8 Meeting (AutoAssign Chapter 13))
                       No. of Notices: 13. Notice Date 11/19/2020. (Admin.) (Entered: 11/19/2020)




 11/19/2020     10     AMENDED Statement About Your Social Security Number (Official Form 121) Filed by
                       Debtor Jonathan Jones. (Burton, Stephen) (Entered: 11/19/2020)


 11/18/2020      9     Certificate of Credit Counseling Filed by Debtor Jonathan Jones. (Burton, Stephen)
                       (Entered: 11/18/2020)


 11/17/2020            Set Case Commencement Deficiency Deadlines (ccdn) (RE: related document(s) 1
                       Voluntary Petition (Chapter 13) filed by Debtor Jonathan Jones) Statement About Your
                       Social Security Numbers (Form 121) due by 11/20/2020 . Incomplete Filings due by
                       11/20/2020 . (Ghaltchi (Johnson), Dina) (Entered: 11/17/2020)
                                                                                                                   
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                                             EXHIBIT 1
https://app.courtdrive.com/filings/cacbke_1913407-2-20-bk-20249-jonathan-jones                            6/11/2021
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 Date Filed     #      Docket Text

 11/17/2020      7     Notice of Dismissal of Case If Required Documents Are Not Filed Within 72 Hours (BNC) .
                       (Ghaltchi (Johnson), Dina). Case is deficient for Statement About Your Social Security
                       Numbers (Official Form 121) (Individual debtors only) due by 11/20/2020 . Modified on
                       11/18/2020 (Ly, Lynn). (Entered: 11/17/2020)


 11/17/2020      6     Notice to Filer of Error and/or Deficient Document Incorrect Social Security Number -
                       The SSN listed on the Petition PDF does not match the Statement of Social
                       Security Number submitted. THE FILER IS INSTRUCTED TO INDICATE THE
                       CORRECT SOCIAL SECURITY NUMBER or ITIN ID BY FILING AN AMENDED
                       STATEMENT OF SOCIAL SECURITY NUMBER FORM IMMEDIATELY. (RE: related
                       document(s) 2 Statement About Your Social Security Numbers (Official Form 121) filed by
                       Debtor Jonathan Jones) (Ghaltchi (Johnson), Dina) (Entered: 11/17/2020)


 11/17/2020            Receipt of Voluntary Petition (Chapter 13)(2:20-bk-20249) [misc,volp13] ( 310.00) Filing
                       Fee. Receipt number 52055543. Fee amount 310.00. (re: Doc# 1) (U.S. Treasury)
                       (Entered: 11/17/2020)


 11/17/2020            Notice of Debtor's Prior Filings for debtor Jonathan Jones Case Number 13-31530, Chapter
                       11 filed in California Central Bankruptcy on 08/27/2013 , Dismissed for Other Reason on
                       05/05/2015; Case Number 12-43814, Chapter 7 filed in California Central Bankruptcy on
                       10/05/2012 , Standard Discharge on 07/22/2013.(Admin) (Entered: 11/17/2020)




 11/16/2020      8     Meeting of Creditors with 341(a) meeting to be held on 12/23/2020 at 09:00 AM at TR 13,
                       VIDEO CONFERENCE. GOTO TRUSTEE WEBSITE FOR INSTRUCTIONS. Confirmation
                       hearing to be held on 01/21/2021 at 09:30 AM at Crtrm 1545, 255 E Temple St., Los
                       Angeles, CA 90012. Proof of Claim due by 01/25/2021 . (Burton, Stephen) (Entered:
                       11/16/2020)


 11/16/2020      5     Notice to Filer of Error and/or Deficient Document Incorrect docket event was used to
                       file this document. The correct docket event for this document is "Certificate of
                       Credit Counseling". THE FILER IS INSTRUCTED TO RE-FILE THE DOCUMENT
                       USING THE CORRECT DOCKET EVENT. (RE: related document(s) 3 Chapter 11 or
                       Chapter 9: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not
                       Insiders (Form 104 or 204) filed by Debtor Jonathan Jones) (Ghaltchi (Johnson), Dina)
                       (Entered: 11/16/2020)


 11/16/2020      4     Verification of Master Mailing List of Creditors (LBR Form F1007-1) , List of Creditors
                       (Master Mailing List of Creditors) Filed by Debtor Jonathan Jones. (Burton, Stephen)
                       (Entered: 11/16/2020)


 11/16/2020      3     For Individual Chapter 11 Cases:: List of Creditors Who Have the 20 Largest Unsecured
                       Claims and Are Not Insiders (Form 104 or 204) Filed by Debtor Jonathan Jones. (Burton,




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                       Stephen). Warning: Incorrect PDF attached. The attached PDF is the Certificate of Credit
                       Counseling. See entry 9 for correction. Modified on 11/18/2020 (Ly, Lynn). (Entered:
                       11/16/2020)


 11/16/2020      2     Statement About Your Social Security Number (Official Form 121) Filed by Debtor
                       Jonathan Jones. (Burton, Stephen) (Entered: 11/16/2020)


 11/16/2020      1     Chapter 13 Voluntary Petition Individual . Fee Amount $310 Filed by Jonathan Jones
                       Summary of Assets and Liabilities (Form 106Sum or 206Sum ) due 11/30/2020 . Schedule
                       A/B: Property (Form 106A/B or 206A/B) due 11/30/2020 . Schedule C: The Property You
                       Claim as Exempt (Form 106C) due 11/30/2020 . Schedule D: Creditors Who Have Claims
                       Secured by Property (Form 106D or 206D) due 11/30/2020 . Schedule E/F: Creditors Who
                       Have Unsecured Claims (Form 106E/F or 206E/F) due 11/30/2020 . Schedule G:
                       Executory Contracts and Unexpired Leases (Form 106G or 206G) due 11/30/2020 .
                       Schedule H: Your Codebtors (Form 106H or 206H) due 11/30/2020 . Schedule I: Your
                       Income (Form 106I) due 11/30/2020 . Schedule J: Your Expenses (Form 106J) due
                       11/30/2020 . Declaration About an Individual Debtors Schedules (Form 106Dec) due
                       11/30/2020 . Statement of Financial Affairs (Form 107 or 207) due 11/30/2020 . Chapter
                       13 Plan (LBR F3015-1) due by 11/30/2020 . Chapter 13 Statement of Your Current
                       Monthly Income and Calculation of Commitment Period (Form 122C-1) Due: 11/30/2020 .
                       Chapter 13 Calculation of Your Disposable Income (Form 122C-2) Due: 11/30/2020 .
                       Statement of Related Cases (LBR Form F1015-2) due 11/30/2020 . Disclosure of
                       Compensation of Attorney for Debtor (Form 2030) due 11/30/2020 . Declaration by
                       Debtors as to Whether Income was Received from an Employer within 60-Days of the
                       Petition Date (LBR Form F1002-1) due by 11/30/2020 . Incomplete Filings due by
                       11/30/2020 . (Burton, Stephen) (Entered: 11/16/2020)




                                            EXHIBIT 1
https://app.courtdrive.com/filings/cacbke_1913407-2-20-bk-20249-jonathan-jones                         6/11/2021
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